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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
UNITED STATES OF AMERICA, )
)
)

Vv. ) Case No. 1:21-cr-175
)

ETHAN NORDEAN, ) District Judge Timothy J. Kelly

)
Defendant. )
)

DE F AELLA

1, ARTURO SANTAELLA, a resident of the State of Maryland, hereby declare under
penalty of perjury that the following is true and correct:

S, I am the manager for Michale Graves, a singer-songwriter who used to lead the
Misfits, a punk-rock band.

2. Late in the day on January 5, 2021 and in the morning of January 6, 2021, I had
conversations with the defendant in this case, Ethan Nordean, whom I knew as “Rufio,” in
Washington, D.C.

3: In those conversations, Mr. Nordean proposed that Mr. Graves perform for Mr.
Nordean and the fellow members of his group at a residence in Washington, D.C., which they
rented through Airbnb for January 5 and January 6.

4. Specifically, in those January 5 and January 6 conversations, Mr. Nordean
proposed that Mr. Graves perform music at the Airbnb residence between approximately three to

four p.m. eastern time on January 6, 2021.
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Executed on March 25, 2021.
Respectfully submitted,

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Santaella

